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 1       Q What documents were those?                         1       A In Kennesaw.
 2       A The -- some paperwork started with an "I."         2       Q Kennesaw. Okay. David or Daniel?
 3   It was like G.W. versus. And I reviewed some text        3       A Daniel.
 4   messages and stuff like that.                            4       Q And, Ms. G.W., just to let you know, I'm
 5       Q Okay. Can you state your full name for the         5   asking you about where your siblings live so
 6   record, please?                                          6   if -- when this case goes to trial, it's in what's
 7       A G.W.                                               7   called the Northern District of Georgia. And so we
 8       Q Have you ever been known by any other name?        8   get a jury pool to select from. And they pick from a
 9       A G.W.                                               9   bunch of different counties up in North Georgia.
10       Q And how would that be spelled?                    10          So I have to know who your relatives are.
11       A X-X.                                              11   So just to make sure they don't get on the jury for
12       Q What's your date of birth?                        12   the case.
13       A 07/29/1999.                                       13       A Okay.
14       Q And where were you born?                          14       Q Where does your mother live now?
15       A In Atlanta, Georgia.                              15       A In Athens, Georgia.
16       Q What's your current address?                      16       Q Okay. Do you have any other siblings
17       A 2360 West Broad Street, Athens, Georgia           17   besides your two brothers?
18   30606.                                                  18       A Yes. I have five other brothers.
19       Q How long have you lived on West Broad             19       Q You have seven brothers total?
20   Street?                                                 20       A Yes.
21       A A year and a half.                                21       Q Are -- the other five, are they all over 18?
22       Q Who lives with you?                               22       A Yes.
23       A My fiance.                                        23       Q Do any of them live in Georgia?
24       Q And what is your fiance's name?                   24       A Three of them do.
25       A Dominque Thomas.                                  25       Q If you can give me the names and location
                                                   Page 15                                                     Page 17
 1      Q Is he from Georgia?                                 1   for the three that do live in Georgia.
 2      A Mm-hmm. Yes.                                        2      A Javell Pryor.
 3      Q And back in June and July of 2017, where did        3             THE REPORTER: And, Counsel, I
 4   you live?                                                4   apologize for the interruption. Could you spell those
 5      A 430 Williford Street, Commerce, Georgia --          5   for me?
 6      Q And who --                                          6             MR. STORY: Yes.
 7      A -- 30529.                                           7   BY MR. STORY:
 8      Q Sorry about that.                                   8      Q And when -- yes. And if you don't mind.
 9      A That's okay.                                        9      A Okay. J-A-V-E-L-L Pryor, P-R-Y-O-R. Robert
10      Q Who did you live with at that address?             10   Wilson. R-O-B-E-R-T Wilson, W-I-L-S-O-N. And I think
11      A My mother and my two brothers.                     11   those -- those at the only two.
12      Q And what's your mom's name?                        12      Q Okay. And where does Mr. Pryor live?
13      A Chanda Santana. C-H-A-N-D-A.                       13      A In Lithonia.
14      Q I think you also said your two brothers.           14      Q And what about Robert Wilson?
15      A Yes.                                               15      A In Austell.
16      Q What are their names?                              16      Q Do you have any sisters?
17      A David and Daniel Wilson.                           17      A Nn-mm. No.
18      Q Do they still live at that address?                18      Q Do you have a father? Stepfather?
19      A No. They don't.                                    19      A Father. Robert Wilson.
20      Q Does your mom?                                     20      Q And does he live in Georgia?
21      A No.                                                21      A No.
22      Q Are they still -- are your brothers still in       22      Q When did you get engaged?
23   Georgia?                                                23      A On July 29th this year, 2022.
24      A One of them is.                                    24      Q Twenty-third birthday?
25      Q Where is he at in Georgia?                         25      A Yes.

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 1      Q That was a pretty good birthday present, I          1      A No.
 2   guess.                                                   2      Q Are you currently a member of any civic
 3      A Yes.                                                3   groups, organizations, churches?
 4      Q When are y'all planning on getting married?         4      A The Athens Church.
 5      A On July 28th of 2024.                               5      Q Is that a nondenominational?
 6      Q Okay. Are you currently employed, Ms. G.W.?         6      A I'm not sure.
 7      A Yes. I am.                                          7      Q And what does your fiance, Mr. Thomas, do?
 8      Q What do you do for a living?                        8      A He's a cook at Zaxby's.
 9      A A nanny.                                            9      Q How long ago did you meet him?
10      Q Do you nanny for a family in Athens?               10      A Three years ago.
11      A Yes. I do.                                         11      Q So other than being a nanny for that family
12      Q Tell me about what your hours are, like in a       12   in Athens, do you do anything else for income?
13   week.                                                   13      A No.
14      A 6:15 a.m. to about 8:30 a.m. And then 2:00         14      Q When did you start that job?
15   p.m. to about 5:00 p.m.                                 15      A I started October 13, 2022.
16      Q And you get paid hourly?                           16      Q It's a good memory you've got. How do you
17      A Daily.                                             17   remember that day?
18      Q What's your daily rate?                            18      A I forgot how I remember. I think it was,
19      A 140.                                               19   like, I had just bought a new car. So I remember the
20      Q Have you previously been married?                  20   day that I could start.
21      A No.                                                21      Q I got you. Prior to October of 2022, what
22      Q Tell me about your educational background,         22   were you doing for work?
23   and just start at high school.                          23      A I was a lead teacher at a daycare called
24      A I have a high school diploma. And then I           24   Childcare University Center.
25   went to cosmetology school and completed cosmetology    25      Q Was that a full-time job?
                                                   Page 19                                                         Page 21
 1   school.                                                  1      A Yes.
 2      Q Where did you go to high school?                    2      Q Going back to that nanny position you've
 3      A Commerce High School.                               3   got, is it five days a week?
 4      Q And then what -- do you remember what the           4      A Four days a week.
 5   cosmetology school was called?                           5      Q What ages are the kids you're taking care
 6      A Paul Mitchell The School of Orlando.                6   of?
 7      Q Does that mean it was in Orlando, Florida?          7      A Nine and 11.
 8      A Yes.                                                8      Q Ms. G.W., do you have any prior criminal
 9      Q Did you do it online? Or did you actually           9   history?
10   go in person?                                           10      A I have a petty theft charge.
11      A In person.                                         11      Q When did that occur?
12      Q When did you -- did you get a certificate or       12      A Around I think May of 2018.
13   degree from there?                                      13      Q And where was it at?
14      A A certificate.                                     14      A In Altamonte Springs, Florida.
15      Q What was the certificate? Is it --                 15      Q So the allegations in this case arise in
16      A For completion.                                    16   June and July of 2017. My understanding is that you
17      Q Do you remember what year you got that             17   were recovered, found, located by the FBI on or about
18   certificate?                                            18   July 23, 2017?
19      A 2018.                                              19      A Correct.
20      Q Do you use that license at all?                    20      Q I want to just, kind of, get an idea of
21      A Nn-mm.                                             21   where you've lived since that time to the present if
22             THE REPORTER: Is that a yes or a no?          22   you could, sort of, walk me through.
23             THE WITNESS: No.                              23      A Okay. So I had went to a shelter for five
24   BY MR. STORY:                                           24   days. And I moved to Orlando, Florida, on July 29th
25      Q It's all right. Do you have any children?          25   of 2017 that year. And I lived there until about

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 1       A Just one time.                                  1         percent came from Backpage. And you might have had
 2       Q Who's Kat, K-A-T? And just to give you a        2         other sources. So if you could just, kind of, break
 3   reference, I'm looking at that last full paragraph.   3         down how you got -- and I'm going to call them
 4   It says, "Z," "Kiki," "Kat," and "Shay."              4         customers.
 5          If I would have read the next sentence, I      5             A Okay.
 6   would have answered my own question.                  6             Q But how you got customers during that June
 7       A Oh. She's PD's sister.                          7         and July time frame?
 8       Q Okay. Did she perform commercial sex            8             A Are we focusing on United Inn,
 9   services?                                             9         like -- like -- 'cause I had stayed there three
10       A Not to my knowledge.                           10         different times. And by the third time, it was a
11       Q Did she drive you around to hotels?            11         different way of me getting them through the process
12       A No. She prepared us for the day. Did our       12         'cause I had been there longer and figured out
13   hair and stuff.                                      13         different ways.
14       Q Did she ever provide you with clothes to       14                So the first time I would say was 80
15   wear?                                                15         percent. Like, the first three -- from June 23rd to
16       A Yes.                                           16         June 26th at the United Inn, the very first day,
17       Q If you can turn to the next page, it's         17         Friday, I would say 80 percent walking and meeting
18   008881. And it's the first full paragraph. I'm going 18         them on the street.
19   to read it out loud for the record and ask you a few 19                By that Sunday I would say 50 percent from
20   questions.                                           20         clients that would pull up in the parking lot or that
21          "G.W. stated she worked commercial sex acts 21           I can find in the hotel. And I would say 30 percent
22   mostly at night either by walking the street and     22         from traveling on the sidewalk. I met them that way.
23   meeting clients or by meeting clients on internet    23         And maybe 20 percent on POF.
24   dating sites such as Plenty of Fish.com. G.W. stated 24                By the second time I would say 70 percent in
25   she would work all night.                            25         the parking lot, 20 percent POF, 10 percent walking.
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 1           "Then PD a/k/a Z a/k/a Zaccheus Obie or Kiki        1          And by the third time, I would say 80
 2   a/k/a Kikia Anderson would take her and Shay LNU by         2   percent POF.
 3   vehicle to Miss B's house identified as Natonya Moody       3       Q Is POF Plenty of Fish?
 4   and the house is the 4544 Pine Road, Forest Park,           4       A Yes. Plenty of Fish.
 5   Georgia, residence, where she would sleep for a few         5       Q And third time you said what percent of POF?
 6   hours and eat some food. G.W. stated PD collected the       6       A Eighty.
 7   money she made from clients."                               7       Q Would -- are you aware of Mr. Obie or his
 8           So the first part of this paragraph -- and          8   associates sending clients to the location that you
 9   that's the end of this paragraph. The first part of         9   were at?
10   this paragraph talks about walking the street and          10       A I vaguely remember that.
11   meeting clients. I've been over to Memorial Drive a        11       Q That's all the questions I have on that
12   few times. Were you walking Memorial Drive?                12   exhibit. Let's get through this next exhibit, and
13       A At one point, yes.                                   13   then we can take a break. This is going to be pretty
14       Q Did you stay in any other hotels on Memorial         14   quick though.
15   Drive that you're aware of?                                15          I'm going to mark as Defendant's Exhibit 5
16       A No. Not that I'm aware of.                           16   various pages of plaintiff's document production
17       Q If you could -- and I hate to ask you this,          17   that's a call log from Ms. G.W.'s phone between June
18   but I have to. If you could, kind of, break down your      18   and July of 2017.
19   clientele and how you got them, and the buckets or the     19              (Defendant Exhibit 5 was marked for
20   categories I'm talking about is: Walking the street;       20              identification.)
21   meeting at strip clubs; or online dating sites which       21          All right. And, Ms. G.W., I'll tell you,
22   would include Plenty of Fish, Backpage.                    22   for this I really am just trying to figure out who a
23       A Can you repeat the question for me?                  23   lot of these people are.
24       Q What I'm trying to understand is if 20               24       A Okay.
25   percent of your clientele came from the street, and 50     25       Q So I'm going to be pretty quick. And we're

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 1   not going to -- I'm not going to go through every one.        1   who tried to -- like, he was screaming at me and Shay
 2   I promise you. All right. We're on 12183. There's a           2   at one point because he wanted to be let up into our
 3   T somewhere. Number 41. Do you see that?                      3   hotel room.
 4       A Yes.                                                    4       Q All right. Going to the next page, 12188,
 5       Q Who is T?                                               5   240. Who is Cedric Byrd?
 6       A Not sure.                                               6       A My older brother.
 7       Q What does that -- did you save contacts with            7       Q And he does not live in Georgia. Correct?
 8   asterisks? See that asterisk to the right of T?               8       A No.
 9       A No. I didn't.                                           9       Q 235, who is Suh, which is S-U-H?
10       Q Okay. You see Ki with a heart? K-I?                    10       A 235. Alyssa. No. That was my old friend,
11       A Kiki.                                                  11   Presteyona.
12       Q That's Kiki?                                           12       Q What was her name?
13       A Yes.                                                   13       A Presteyona. P-R-E-S-T-E-Y-O-N-A. It's real
14       Q And is that Kikia Anderson?                            14   complicated.
15       A Yes.                                                   15       Q I'm just, like, so you just made my mind do
16       Q What about 47? Who's Snow?                             16   a -- go through a roller coaster with that spelling.
17       A Snow was a man that I had met at the                   17       A You could put Presty. That's what I used to
18   American Inn.                                                18   call her.
19       Q And PD is Zaccheus Obie?                               19       Q Is she a friend from Commerce?
20       A Correct.                                               20       A Yes.
21       Q All right. Going to the next page, there is            21       Q Okay. Who is 239, Christian Santana?
22   a Pete, 82. Who is Pete?                                     22       A My older brother.
23       A I'm not sure.                                          23       Q So are you the youngest sibling?
24       Q How about 79? Who is Robert?                           24       A I have two little brothers.
25       A Could have been my dad. I think that's my              25       Q Two little brothers, five older brothers?
                                                        Page 59                                                          Page 61
 1   dad's number. That is my dad's number.                        1      A    Yes.
 2       Q All right. And then go to the next page                 2      Q    Y'all have a full-on basketball team.
 3   which is 12186. Where is it? 152, Kodak. Who is               3          What about 241, Malik, which is M-A-L-I-K,
 4   Kodak?                                                        4   Lik, L-I-K?
 5       A He was a pimp.                                          5      A An old friend from school.
 6       Q How do you know he was a pimp?                          6      Q And then right under that, let me spell it
 7       A Because he had told us that he was.                     7   for the record. It's 242 saved as back nogbeen
 8       Q And how did you meet him?                               8   iammoney. That's spelled B-A-C-K, space, "N" as in
 9       A I met him first at the United Inn and                   9   Nancy, O-G, "B" as in boy, E-E, "N" as in Nancy, space
10   Suites. And he ended up also being at that Travelodge        10   iammoney, one word spelled out it should be.
11   I was at.                                                    11          Who is that?
12       Q Do you know what Kodak's real name was?                12      A I'm not sure.
13       A No. I don't. He looked like Kodak Black.               13      Q Okay. Who is James Wilson?
14   That's why I called him that.                                14      A My brother.
15       Q Did he appear to know the Obies?                       15      Q Okay. And then 248, Herb. Who's Herb?
16       A No.                                                    16      A I'm not sure.
17       Q So if you met, like meeting him and he's a             17      Q That's H-E-R-B for the record.
18   pimp. You meet him at United Inn and Suites, I mean,         18          All right. Going to the next page, 12189,
19   is he trying to, like, recruit you?                          19   258, there's an outgoing call to Holly. Who's Holly?
20       A Yes.                                                   20      A Not sure.
21       Q And what did you tell him?                             21      Q Then 269, missed call from Kristin. Who is
22       A No. That we already had a daddy.                       22   Kristin?
23       Q Okay. 179. Who is Crazy?                               23      A Alyssa's cousin. Or A.G.'s cousin. Sorry.
24       A I'm not 100 percent sure, but I think that             24      Q That's okay. And just to let you know, Ms.
25   this -- this man who I met at United Inn and Suites          25   G.W., because I know that you've got legitimate rights

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 1       Q Why is she S-I-H-W?                                   1       Q And I know I'm not expecting you to tell me
 2       A I'm not sure what that stood for.                     2   a specific date, but generally speaking when did you
 3       Q And this is a text from you to her that               3   witness that occur?
 4   says, "Maybe we shouldn't have told everyone we want        4       A You -- okay. So you're asking what time I
 5   to be strippers."                                           5   witnessed him begin to be physical with people?
 6       A Correct.                                              6       Q Yes, ma'am.
 7       Q Then y'all talk about it. And my question,            7       A I would say the second time that I got back.
 8   I want to go to the next page. And if you go to             8       Q So that was in July?
 9   the -- towards the middle, it's a message from A.G.         9       A Yes.
10   that says, "And you're the one that came up with it.       10       Q Who was he physical with?
11   Not me." Do you see that?                                  11       A With Shay.
12       A Okay. And that's from A.G. or me?                    12       Q Was he ever physical with you?
13       Q That's from A.G.                                     13       A The day that I was rescued, like he was in
14       A Okay.                                                14   the middle of a conversation where he was starting to
15       Q Is it fair to say that it was your idea to           15   get very upset because I had got robbed that day. And
16   go to Atlanta and strip for money?                         16   he was very mad that I didn't have any money.
17       A I wouldn't necessarily say it was my idea.           17       Q So at that time, June 22nd, June 23rd, it is
18       Q Is it you and A.G., kind of, working or              18   fair to say you did feel like you could have left
19   talking together about it?                                 19   whenever you wanted to?
20       A Yes. Also with the mixture of the glamorous          20       A Physically, yes. But we were in, I would
21   way Payton presented it to us.                             21   say, like, an emotional -- like a chain at that point.
22       Q And tell me, how did she present it to you?          22   Like we had went and did something we should have
23       A She had this photo on her phone of her               23   never did. So we were mentally still attached to
24   laying on a bed with thousands of dollars around her.      24   this. Like, we felt bound to him now. Like, we made
25   That was what the photo. When I think back to how she      25   a choice we couldn't turn back from.
                                                      Page 71                                                          Page 73
 1   presented the situation, that's what we were inspired       1      Q And tell me about the financial
 2   by.                                                         2   arrangements. My understanding -- and I've read
 3       Q That's all the questions I have for that.             3   thousands and thousands and thousands of pages of this
 4   All right. I'm going to hand you what I'm marking as        4   investigative file. My understanding is that Mr. Obie
 5   Defendant's Exhibit 7, which is Bates stamped               5   would collect all of your money, and you would keep
 6   Plaintiff 012457.                                           6   none of it.
 7             (Defendant Exhibit 7 was marked for               7      A Correct.
 8             identification.)                                  8      Q How did you -- how did that sit with you? I
 9          So Madison Waldrop, she's your friend from           9   mean, tell me how that occurred.
10   home?                                                      10      A He was telling us that he was basically
11       A Yes.                                                 11   collecting the money and holding it for us because he
12       Q If you look down about just up midway on             12   wanted to get us a house. So we were under the
13   June 23, 2017, so this says 3:22 Universal Time. 3:23      13   impression basically, like, we were putting it in the
14   Universal Time, which means that's really 10:23 p.m.       14   bank pretty much.
15   on June 22nd. And it says, it's a message from you to      15          Now looking back I see he was keeping our
16   her that says, "Yes boo. Ima send you my location          16   money. But at the time we thought we were giving it
17   when we get there. It's basically like a job. We           17   to him to hold for us.
18   have the choice to leave whenever we want." End of         18      Q And was he -- was his -- and I know that's
19   message.                                                   19   what he was telling you, but was he telling you that
20          My question for you, Ms. G.W., is, was your         20   his intent was to buy a house for you to live in? Or
21   understanding between June and July of 2017 that you       21   to perform more commercial sex acts?
22   had the option to leave whenever you wanted to?            22      A Probably both.
23       A Not at one point.                                    23      Q Was there ever a time that PD stated that
24       Q And at what point was that?                          24   his intention was to be in any kind of relationship
25       A When PD became physical with other girls.            25   with you?

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 1      A To my knowledge, I wouldn't say                        1       A I don't know if that's his trafficking
 2   relationship. But definitely at one point he started        2   associate or what they were. He would pay for the
 3   speaking, like, romantically with me. Like, I don't         3   hotel rooms.
 4   remember his exact words. But I remember him it             4       Q Okay. So you -- the -- when y'all -- on
 5   became a romantic thing. He told me after I turned          5   June 22nd, the day before, a female that you don't
 6   18. Like, we could be together or something maybe.          6   know, picked you up and paid for the hotel room?
 7      Q Okay. All right. I'm going to hand you                 7       A Correct.
 8   what I'm marking as Defendant's Exhibit 8, which is         8       Q Okay. Now we're to June 23rd, and I know
 9   Plaintiff 12454.                                            9   that we're in the morning right now. So you probably
10             (Defendant Exhibit 8 was marked for              10   haven't checked into a hotel room. But do you
11             identification.)                                 11   remember if you did check into a hotel room on June
12          And these are text messages from June 23rd          12   23rd?
13   of 2017. So we've talked about, you know, that night       13       A Yes. That's -- he went and picked up Doc.
14   of June 22nd that you were on Fulton Industrial.           14   And Doc went and checked us in at the United Inn and
15   Right?                                                     15   Suites that day.
16      A Yes. Correct.                                         16       Q And that was on June 23rd?
17      Q So I want to just go through a few of these           17       A Correct.
18   messages. At the top, and this is June 23, 2017,           18       Q Tell me what you remember about June 23rd.
19   11:26 UTC. So that's 6:26 a.m. Eastern Time on June        19   When did you check into the United Inn?
20   23rd. You say, "It's almost 8:00 a.m. and we haven't       20       A I remember when we went and picked up Doc.
21   been to sleep. We just finished walking the streets        21   I remember PD left us in the car for a long time. Me
22   and I feel like I was in The Purge." You sent that to      22   and Alyssa almost fell asleep. I remember we
23   Payton. Correct?                                           23   drove -- I just remember driving around Atlanta for a
24      A Yes.                                                  24   long time that day. I don't know where we went.
25      Q And then Payton asks you a question. Says,            25          But then we went to the hotel. And Doc went
                                                      Page 75                                                         Page 77
 1   "Did you get to dance or anything?" And you respond,        1   in and paid for the room. And PD stood outside of the
 2   "No. We literally are the worst hookers ever. We            2   car till he came back. And then he woke us up and
 3   didn't know WTAF to do. But he picked us up and we in       3   told us to get our stuff.
 4   the pretty part of ATL now." End of message.                4           And for some reason I feel like that day he
 5          So that message was at 6:36 a.m. Eastern             5   sat in the room with us for a while and talked to us
 6   Time on June 23rd. I want to ask you a few questions        6   that morning. I'm not necessarily sure what he said,
 7   about. So you've told me that at this point, you            7   but I know that day me and Alyssa got dressed. And I
 8   thought you were going up there to strip. Is there a        8   know when we first left out of our hotel immediately
 9   difference to you in using the term stripper and            9   with whatever we had on, we had on like, cropped bras
10   hooker?                                                    10   and bootie shorts and thigh high heel boots.
11       A Yes.                                                 11           And there was a black woman who stopped us
12       Q Okay. Is it fair to say that at this time            12   and tried to give us her card. And it was, like, I
13   on June 23rd at 6:36 a.m. you became aware that it was     13   don't know what the card said, but she basically told
14   the Obies' intent that y'all be hookers?                   14   us that we needed to get help. And we didn't need to
15       A Correct.                                             15   be out here doing whatever we were doing.
16       Q Okay. Who -- you say he picked us up. Who            16           We walked up and down Memorial for hours
17   is he?                                                     17   that day. We didn't meet anybody until probably about
18       A PD.                                                  18   two. Now we walked from probably checking in
19       Q And do you know what you meant by the pretty         19   till -- we didn't meet anybody till about 2:00, 3:00
20   part of ATL?                                               20   a.m. We met these two Haitian men. And they came to
21       A We had went and picked Doc up from                   21   our room and paid for sex. And they left.
22   somewhere, his associate.                                  22           And we met one more man that night which was
23       Q Do you know what Doc's name is?                      23   like a older man who was driving through the parking
24       A Dontavious Carr, I think.                            24   lot real slow. And he rolled the window down and
25       Q And is that just a friend of PD's?                   25   asked us what we were doing. And we asked him what he

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 1   was looking for. And he came and had commercial sex          1       Q Do you remember any conversations that Doc
 2   with us.                                                     2   had with you? If that was the time that he stayed in
 3       Q When y'all got to the United Inn and Suites            3   the room and sat with you all?
 4   on June 23rd, when you all pulled in, is PD driving or       4       A Can you repeat that one more time?
 5   is Doc driving?                                              5       Q Yes, ma'am. You'd said that you believe
 6       A PD is driving.                                         6   that -- you weren't positive, but you thought that
 7       Q And you said Doc gets out. He goes to the              7   that might have been the day that Doc stayed in the
 8   lobby to check in?                                           8   room with y'all for a little while?
 9       A Yes. Correct.                                          9       A PD. I think he stayed in the room with us
10       Q And y'all were asleep in the car at this              10   for a little bit.
11   point?                                                      11       Q Okay. And any -- do you recall y'all's
12       A We were asleep on the way. But, like, when            12   conversations at all?
13   we pulled up into the hotel parking lot, we woke up.        13       A So every morning he would come in our room
14       Q And are you familiar with the United Inn in           14   and -- I -- I just think he would talk to us about how
15   the sense that there's two parking lots?                    15   we had to meet -- maybe that was the day he explained
16       A A front and a back parking lot.                       16   that we had a $500 quota every day.
17       Q Right. Did PD pull into the front parking             17          And I think me and Alyssa finally asked him,
18   lot or the back?                                            18   like, do we have to have sex for the money. And he
19       A The front parking lot.                                19   told us yes.
20       Q Do you remember what room you stayed in that          20       Q And what happened when he said yes?
21   night?                                                      21       A I would say, like, at that point me and
22       A 112.                                                  22   Alyssa start -- we switched to, like, a survival type
23       Q And how do you remember that?                         23   of thing. Like, well, we're here. We're ashamed for
24       A Because I saw the check-in information for            24   what we did last night. Everybody already thinks
25   Doc, the room he booked.                                    25   we're nasty in a way. So we just, like, survived in
                                                       Page 79                                                         Page 81
 1       Q Was it like a printout receipt you get?                1   that moment. We just decided to do what we had to do.
 2       A Yes.                                                   2      Q And then you and A.G. got dressed, and you
 3       Q Okay. And explain to me how did you get                3   walked out at this point. Is this just late afternoon
 4   from the car that PD was driving to Room 112?                4   roughly?
 5       A We walked inside. We got our luggage out               5      A I would say maybe 1:00 or 2:00 p.m. More so
 6   and walked inside.                                           6   mid-day.
 7       Q Walked inside the room?                                7      Q And I think you said you walked out of there
 8       A Yes.                                                   8   as a black woman that tried to give you a card saying
 9       Q And, you know, the United Inn and Suites,              9   you don't need to do this. Is that correct?
10   that the check-in lobby is to the far, lefthand             10      A Yes. Like, maybe she was from a church or
11   corner?                                                     11   something. She was trying to tell us to call our
12       A Correct.                                              12   parents, and that we didn't need to be out here like
13       Q Where is Room 112 in relation to that?                13   that.
14       A If the lobby is over here, the 112 is to the          14      Q Was she in the parking lot of United Inn?
15   far left on the first row.                                  15      A Mm-hmm.
16       Q Is the entrance from the front parking lot?           16             THE REPORTER: Is that a yes?
17       A Yes. To the room?                                     17             THE WITNESS: Yes, ma'am.
18       Q Yes, ma'am.                                           18   BY MR. STORY:
19       A Correct.                                              19      Q What did y'all say back to her?
20       Q What were you wearing when you walked into            20      A I think we just took her card and kept
21   the hotel? I know that you are dressed up when you          21   walking. And told her we were fine, I think.
22   left, but what were you in walking in?                      22      Q Did you ever call that lady?
23       A I had some blue jeans, those same black,              23      A No.
24   leather thigh high boots, and like a cropped top, lace      24      Q And then you said y'all just walked Memorial
25   shirt.                                                      25   Drive?

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 1       A Correct.                                              1       A At the time. Yes.
 2       Q But didn't meet anyone until 2:00 to 3:00             2       Q Okay. No longer?
 3   a.m.?                                                       3       A No.
 4       A Correct.                                              4       Q All right. I'm going to hand you what I'm
 5       Q All right. So that would take us ultimately           5   marking as Plaintiff's [sic] Exhibit 10 which is
 6   to June 24th. So from that time that you arrive at          6   Plaintiff 012444.
 7   the United Inn with Doc and PD in the car, just June        7              (Defendant Exhibit 10 was marked for
 8   23rd specifically. You know, it ends at midnight.           8              identification.)
 9   There was no sex trafficking that occurred on June 23,      9              THE REPORTER: And, Counsel, you said
10   2017, at the United Inn and Suites. Is that correct?       10   Plaintiff's Exhibit 10. Did you mean --
11   With you specifically?                                     11              MR. STORY: I meant Defendant's Exhibit
12       A Correct.                                             12   10. Thank you, Madam Court Reporter. If you can keep
13             MR. BOUCHARD: I'm going to object to             13   correcting my errors I would greatly appreciate it.
14   form on that question.                                     14   Keeping a clean record. I do appreciate it.
15             MR. STORY: Madam Court Reporter, I               15   BY MR. STORY:
16   have lost my place on exhibits. What number am I on?       16       Q Now, Ms. G.W., these are text messages
17             THE REPORTER: One moment, please, sir.           17   against from June 24th of 2017. I want to bring your
18   We are going to be on Exhibit 9.                           18   attention to the top half of this document where it
19             MR. STORY: Thank you.                            19   says June 24, 2017, 19:41 UTC. So that's 14:41. So
20             THE REPORTER: Yes, sir.                          20   that's 2:41 p.m. on June 24th.
21   BY MR. STORY:                                              21          And it says -- it's a message from you to
22       Q I'm going to hand you what I'm marking as            22   Madison Waldrop. "No where still out here and it's a
23   Defendant's Exhibit 9.                                     23   lot better. Our boss makes us feel safe and the more
24             (Defendant Exhibit 9 was marked for              24   we meet with him the more we realize that he's got us
25             identification.)                                 25   and that he really is going to make us rich." End of
                                                      Page 83                                                        Page 85
 1           It's Plaintiff 012449. It's text messages           1   message.
 2   from June 24, 2017, which we'll see in a second is          2           Ms. G.W., when you say our boss, are you
 3   actually somewhere from the night of June 23rd. I           3   referring to PD?
 4   want to bring your attention to the bottom, Ms. G.W.,       4      A Correct.
 5   and see 6/24/17 at 3:32 UTC. It starts with "I hope         5      Q And tell me, what was he doing at that time
 6   y'all."                                                     6   to make y'all feel safe and that he was going to make
 7       A Mm-hmm.                                               7   y'all rich?
 8       Q I'm going to read this out loud for the               8      A He was grooming us, telling us how, like,
 9   record. This is June 24, 2017, from Ms. G.W. to             9   we're amazing and every little dollar we bring him, he
10   Payton, and it's 3:32 UTC, which actually means it was     10   gives us encouragement. He's telling us that he's
11   sent on June 23, 2017, at 10:32 p.m. Eastern.              11   watching us. He's constantly monitoring us to try to
12           It states, "I hope y'all know Alyssa is lazy       12   make us feel safe to leave out of the hotel and meet
13   AF. She literally is too lazy to fuck for money and        13   people. Or if there's people in our room, he's making
14   that's sad AF. Just tell Buck she ain't gonna make         14   us feel like he's watching our room.
15   him no type of moneys." End of message.                    15      Q All right. So we're at where you all were
16           Who is Buck, Ms. G.W.?                             16   walking Memorial. And then we got to midnight of June
17       A Alyssa's baby daddy.                                 17   24th. You said you didn't meet anyone till about 2:00
18       Q Did he know that she was doing this?                 18   or 3:00 a.m. Is that correct?
19       A When we got back, we -- we figured that              19      A Correct.
20   Payton was once a prostitute or whatever. And that         20      Q And the first group you met were two Haitian
21   she already knew what she was sending us to. So we         21   men?
22   assumed that she had told Buck everything or whatever.     22      A Correct.
23       Q Okay. And you've told me this, but just to           23      Q Where did you meet them?
24   keep it clear in my head. Payton is Buck's                 24      A At a gas station further up the street.
25   girlfriend?                                                25      Q Do you remember what the gas station was

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 1   called?                                                   1       A About two hours.
 2       A No. But it was in the righthand side of             2       Q How long was he in there?
 3   Memorial, same side of the road that United Inn was       3       A Maybe 30 minutes.
 4   on.                                                       4       Q And then he paid y'all, and he left?
 5       Q And how -- I mean, how did that conversation        5       A Correct.
 6   go? Who approaches who?                                   6       Q I think you said earlier that y'all
 7       A To my knowledge, I think we approached them.        7   were -- after the Haitian men had left that y'all were
 8   We used to be pretty direct, like, I'm assuming we        8   loitering in the United Inn's parking lot for about
 9   either said what you looking for, or you looking to       9   two hours. Tell me, if you can. Give me some more
10   pay for some pussy. One or the other.                    10   detail about what y'all were doing.
11       Q And did they -- did you ride with them back        11       A We could have maybe walked around the entire
12   to the United Inn?                                       12   hotel. Like, just walking back and forth from the
13       A No. Because they wanted us to come to their        13   front to the back. Or we stood, like -- like, there's
14   house, and we told them we had to stay at our hotel.     14   a middle part of -- I'm thinking back to the hotel
15   So they had met us down at our hotel. We walked back,    15   like a breezeway. I think we stood in the breezeway.
16   and they drove there.                                    16       Q Do you remember -- again we're in the early
17       Q Okay. But ultimately did they come into            17   morning hours of June 24th. Do you remember seeing
18   Room 112?                                                18   any employees of United Inn at that time?
19       A Correct.                                           19       A No. No employees at that time. But we saw
20       Q And you know, it doesn't escape me, Ms.            20   employees like the day before, like that Friday.
21   G.W., that I'm asking you about stuff that               21       Q Tell me about that when y'all saw employees
22   was -- occurred over five years ago. And a lot of        22   on June 23rd.
23   times I'm going to ask you to give me an estimate.       23       A Like employees pushing their carts, the
24   I'm not here to, you know, make you an exact             24   cleaning service. We saw them. I don't think we
25   historian. But roughly speaking, about how long do       25   interacted with them until Saturday because we needed
                                                    Page 87                                                         Page 89
 1   you think those two Haitian men were in your room?        1   more towels on Saturday and more -- we had asked if
 2      A Maybe 30 minutes.                                    2   they had tampons. I remember that.
 3      Q And did you and A.G. have sexual intercourse         3      Q And so on Saturday, June 24th?
 4   with them?                                                4      A Well, not tampons. I can remember that we
 5      A Correct.                                             5   asked -- we had asked for something. Maybe like
 6      Q Do you remember how much they paid?                  6   deodorant. I think it was deodorant.
 7      A No. Maybe $60 to $100.                               7           Yes. July 24th is when that would have
 8      Q And then after it was done, did they just            8   happened. Or June 24th.
 9   leave the hotel room?                                     9      Q So you asked for towels and deodorant?
10      A Correct.                                            10      A Yes. Correct.
11      Q And then what do y'all do from there? Do            11      Q And they've got like a little store almost
12   you all stay in the room? Do y'all go to the parking     12   behind the desk where you can buy certain items?
13   lot? Do y'all go walk the street?                        13      A Yes. We've been -- we went in there. We
14      A We probably went back out. No. I would say          14   bought chips, noodles, condoms, stuff like that, out
15   since that was about two or three, we loitered in the    15   the front desk area.
16   parking lot for about two hours.                         16      Q On June 24th specifically, that Saturday,
17          And that's when the man in the construction       17   y'all just spent y'all's first night at the United
18   gear came right in through the parking lot with his      18   Inn. Did you -- do you know if you bought condoms
19   window down. And he asked us -- or we asked him what     19   from the front desk on June 24th?
20   he was looking for. And he came into our hotel room      20      A The 25th. It would have been that Sunday we
21   with us.                                                 21   would have bought some.
22      Q And it was just one man?                            22      Q Okay. Did -- when y'all asked for towels on
23      A Yes. Correct.                                       23   the 24th, did they provide you with towels?
24      Q Okay. You said it was probably a few hours          24      A Mm-hmm.
25   after the Haitian men?                                   25              THE REPORTER: Is that a yes?

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 1              THE WITNESS: Yes.                           1           Q And generally speaking, when he would come
 2   BY MR. STORY:                                          2        get y'all's money?
 3      Q And what about -- did you have to pay for         3           A Probably right before check-in. Probably
 4   deodorant?                                             4        after 9:00 a.m.
 5      A I don't think they had deodorant. I don't         5           Q All right. So we get to check-in time on
 6   think -- like, when we asked the clerk lady, I don't   6        June 24th. And I know y'all stayed in Room 112 on the
 7   think they had any on them.                            7        night of the 23rd. Did y'all switch hotel rooms for
 8      Q Okay. And explain to me what the -- do you 8               the 24th?
 9   know the clerk lady's name?                            9           A No. We were in the same room the whole
10      A No.                                              10        time.
11      Q What did she look like?                          11           Q Had you -- at this point on the 24th, had
12      A A Hispanic maybe woman. Or like a lighter 12               you seen Doc again?
13   tone, fairer tone woman.                              13           A No. We didn't.
14      Q All right. So after the construction guy         14           Q And so from -- that 24th is Saturday. Do
15   drives in -- speaking of when he drives in, is he     15        you recall if you primarily walked the streets, did
16   driving slowly in the front parking lot or the back   16        Backpage?
17   parking lot?                                          17           A So I would say, like, Saturday when he came
18      A Front parking lot.                               18        back to collect the money, that's when he told us to
19      Q All right. So that -- I mean, roughly            19        make Plenty of Fish profiles. We tried setting it up,
20   speaking, gets us to, like, seven or eight o'clock in 20        but we couldn't figure it out. So we just left that
21   the morning. And we're still on June 24th. Did you 21           alone.
22   go to sleep at this point?                            22               I know we had to have walked around that day
23      A We never slept. We maybe got, like, a nap. 23              also because at one point that day, we had met this
24   Like an hour or two. But we never slept more than 24            boy who was driving, and he ended up bringing five men
25   three hours. So maybe we took a nap that day. He 25             back to our hotel room.
                                                      Page 91                                                        Page 93
 1   didn't want us to sleep.                                    1       Q He ended up bringing how many men? I'm
 2            So maybe we went to sleep around -- he -- I        2   sorry.
 3   know, like, he had a thing where he wanted us to work       3       A Five.
 4   till, like, 10:00 a.m., 11:00 a.m. And then maybe we        4       Q And I cut you off. What were you going to
 5   can nap from, like, 11:00 to, like, 2:00. That was,         5   say?
 6   like, our napping time.                                     6       A And like these -- this encounter with these
 7        Q Were y'all being monitored by any -- by              7   people, they were -- they had -- they just were doing
 8   either PD or any of his associates?                         8   a lot. I think they made me and Alyssa uncomfortable.
 9        A He had us under the impression that he was           9   They wanted more than just like -- they wanted to be
10   constantly monitoring us, that he was, like,               10   there for a long time.
11   constantly driving up and down Memorial watching us.       11          So we tried to kick them out of our room.
12            And from the way he would, like, disappear        12   And they tried to -- I think one of them left their
13   in the morning for 20 minutes, like, I -- I don't know     13   shoes in the room or something. So they were banging
14   necessarily if he was in, like, friends with the front     14   on the door, being really loud, screaming. And we
15   desk or friends with the people who worked at the          15   didn't want to let them in. And so they were out
16   hotel, and asked them to monitor us. But I just know       16   there for a while yelling at us to let them back in.
17   that he told us he was monitoring us.                      17          I had pepper spray back then. So I
18        Q And what do you mean he'd disappear for 15          18   remember, like, telling them I was going to pepper
19   or 20 minutes?                                             19   spray them or something. And, like, they were just
20        A When he would come get our money, he would,         20   banging on the door asking, I guess, eventually for
21   like -- he never told us I'm going to go pay for           21   their shoes. So we gave them their shoes, and they
22   another room. I had to get older to realize that's         22   left.
23   what he was doing. But he would leave out the room         23          And then those two Haitian men ended up
24   for, like, 15 to 20 minutes, sometimes maybe 30            24   coming back with about two to three more people with
25   minutes. And then come back.                               25   them, two to three more men with them. And I know at

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 1   this time with them, I was in the bathroom and Alyssa        1   in the hotel bathroom with two of the men when you
 2   was in the room. And there might have been two guys          2   believe that A.G. got slapped?
 3   in the bathroom with me.                                     3       A Correct.
 4          I remember Alyssa had got slapped by one of           4       Q Did it end at that point?
 5   them for some reason. So one of them had assaulted           5       A I think they got, like, aggressive after
 6   her, and she was really upset about it. And I'm sure         6   that happened. And I don't know how I ended up
 7   we finished the job or whatever. But I just remember         7   getting them out the room somehow. But I made them
 8   with those group of men, one of them slapped Alyssa.         8   leave the room. Yeah.
 9       Q So the boy you met driving on June 24th, was           9       Q Okay. And so they left. Did you ever see
10   he driving on Memorial?                                     10   them again?
11       A Yes. Correct.                                         11       A Nn-mm. No, sir.
12       Q So you met him when you all were walking              12       Q Okay. How long do you think that -- I'm
13   Memorial?                                                   13   just going to call them the group of Haitian men. How
14       A Correct.                                              14   long do you think that group of Haitian men was in
15       Q And he -- y'all had a conversation. And he            15   Room 112?
16   said I want to bring back my friends?                       16       A I would say, like, 45 minutes.
17       A Yes. Correct. We told him, I guess, what              17       Q I'm going to hand you what I'm marking as
18   we were doing. And he was, like, well, I can help you       18   Defendant's Exhibit 11.
19   all out. And he brought back those five men. They           19             (Defendant Exhibit 11 was marked for
20   were supposed to pay us $500, but the boy ended up          20             identification.)
21   keeping, like, $200 of it. Something like that. So          21          This is Plaintiff 008090. And I'll
22   he got some money out of the deal.                          22   represent to you, Ms. G.W., do you see -- go down to
23       Q Okay. And did the entire -- the group of              23   8416. Do you see that?
24   five men all have sexual intercourse with you and           24       A Yes.
25   A.G.?                                                       25       Q It says Sent and it says From. And it's got
                                                       Page 95                                                         Page 97
 1       A Yes. And the boy also. So six of them.                 1   that 404 number.
 2       Q What time was the sex occurring on June                2       A Mm-hmm.
 3   24th?                                                        3       Q I'll represent to you that that's Obie's
 4       A It was dark outside, so maybe like after               4   phone, and he's texting Kikia Anderson. Okay?
 5   7:00 p.m.                                                    5       A Okay.
 6       Q And they're in there for 30 minutes, an                6       Q And as you see, this is June 26, 2017. With
 7   hour?                                                        7   the time change, it's 6:15 a.m. Eastern Time. And I'm
 8       A Thirty minutes.                                        8   going to read this message out loud.
 9       Q And about how long do you think they were              9          It says, "Not for long. I'm going to have
10   outside knocking on your door?                              10   all 2 of my games dropped off and on Commerce,
11       A Probably about 15, 20 minutes.                        11   Georgia, for about 2-3 days. So I'll be chilling at
12       Q So then y'all give the shoes back, and they           12   my mama spot. Tuma Little People brand. Bring the
13   leave? Is that correct?                                     13   car back, but right now I'm on the way to Memorial
14       A Yes. They do.                                         14   Drive." End of message.
15       Q And then on that same night the Haitian men           15          My question, Ms. G.W., is when he says two
16   returned?                                                   16   of my games, is he referring to you and A.G.?
17       A Yes. They came knocking on our door.                  17       A I'm not sure. I'm going to assume, but I'm
18       Q Okay. And they -- you said the two men had            18   not sure.
19   two to three more men with them?                            19       Q Do you know what Tuma Little People is?
20       A Mm-hmm. It was four to five of them.                  20       A No. I don't.
21       Q And did the same thing occur? That entire             21       Q Did you go back to Commerce, Georgia, for a
22   group had sexual intercourse with you and A.G.?             22   few days?
23       A Correct.                                              23       A Yes. I did.
24       Q And I think you said -- and I don't want to           24       Q Did PD take you?
25   tell you what you're saying if I'm wrong, but you were      25       A No. The lady who dropped -- who picked us

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 1   up from Commerce, she took us home.                         1   door we went in or not let the, like, staff see us
 2      Q Okay. Did she take you home on June 26th?              2   pretty much.
 3      A Correct. That Monday.                                  3       Q When y'all bought those condoms on Sunday,
 4      Q That Monday.                                           4   June 25th, did y'all buy anything else from the lobby?
 5      A Yes.                                                   5       A Now this could have been Saturday or Sunday.
 6      Q Okay. Going to that day prior to that                  6   I just want to note that, that we bought the condoms.
 7   Sunday, I think you told me earlier that you believe        7          We bought chips and cup noodles, I'm pretty
 8   that you bought condoms from the United Inn and Suites      8   sure.
 9   on June 25th?                                               9       Q And y'all are still in Room 112?
10      A I would say that one is for a fact. I know            10       A Yes.
11   that one for a fact, but we did. I know we did.            11       Q Do you remember, did you spend the night at
12      Q Okay. Tell me how you know that.                      12   United Inn on that Sunday night, June 25th?
13      A 'Cause I remember buying them. I remember             13       A Yes. We did.
14   buying them from the front desk. 'Cause we                 14       Q So was it your understanding that
15   needed -- we had ran out of the ones we had.               15   either -- 'cause Doc checked out the room the first
16      Q What kind of condoms were they?                       16   night for the 23rd. Right?
17      A Either Trojan or the Magnum. Either Trojan            17       A Correct.
18   or Magnum.                                                 18       Q But then you didn't see Doc again. Right?
19      Q How did you pay for them?                             19       A Not until he -- him and Obie, or PD, picked
20      A I think cash.                                         20   me up July 1st or 2nd and brought me back to the
21      Q And who did you buy them from in the lobby            21   United Inn. He was there that time also.
22   at United Inn?                                             22       Q So do you know who was actually checking out
23      A I think from the black lady that was working          23   the rooms? The room 112 on the 24th and 25th?
24   there.                                                     24       A PD. He was paying for another night every
25      Q You don't remember her name. Do you?                  25   night.
                                                      Page 99                                                        Page 101
 1       A No. I don't.                                          1      Q And would he just came back and tell you the
 2       Q Did you show her any kind of identification           2   room's checked out?
 3   to buy the condoms?                                         3      A Like, we never would check out. We just
 4       A No. I didn't.                                         4   would pay for an additional day every day I'm
 5       Q Did she ask you any questions about what you          5   assuming. He didn't tell us any information or
 6   were buying the condoms for?                                6   nothing like that. This is all stuff I'm assuming
 7       A No. She didn't.                                       7   since I've gotten older. But I just -- he would
 8       Q Had you been instructed by PD on what to say          8   disappear for 15, 20 minutes.
 9   if you were asked what to say what the condoms were         9          He'd come, take the money, leave out the
10   for?                                                       10   room for 15, 20 minutes. Then come back and tell us
11       A I don't necessarily know about condoms. But          11   to get some more.
12   he definitely instructed us, like, how to not give         12      Q Do you know if he had, like, any fake IDs or
13   ourself away, or something like that. Like, not to be      13   anything like that?
14   telling anybody anything pretty much.                      14      A Not to my knowledge.
15       Q And so how -- what were, kind of, his                15      Q The reason I ask, my client has searched
16   instructions for how to --                                 16   their records up and down and left and right. And
17       A Like, he would instruct us not to leave              17   they cannot find one piece of evidence that Mr. Obie
18   condoms in the trash can. Even though we did, but,         18   ever checked a room out. And I hear what you're
19   like, he would tell us not to.                             19   saying. You're just telling me what you know.
20           He would instruct us not to be hanging in          20          But is it possible that -- I know y'all gave
21   the hallways, loitering in the parking lot, but we         21   PD the money. But that when he went out of the hotel
22   still did. 'Cause we started finding clients that          22   that he was giving the money to somebody else and they
23   way, so that's -- that became our new way of getting       23   were checking the room out for you?
24   them instead of walking up and down the street.            24      A I don't think so because I saw the records
25           He would tell us to not let people see which       25   for the hotel room. And Doc, who his legal name was

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 1   like Dontavious Carr, his name was on the room for         1      Q During this 23rd, fourth, and fifth, did
 2   those three days. Yeah.                                    2   room service come in and clean y'all's room?
 3      Q I got you. Okay. After y'all purchased                3      A I think so. I'm pretty sure they did 'cause
 4   condoms -- and I know it could have been Saturday, the     4   that's why I said Obie, PD, would tell us to clean up
 5   24th, and might have been Sunday, the 25th -- do you       5   the condoms. Don't let them just be laying
 6   recall if you performed any commercial sex services on     6   everywhere.
 7   Sunday, June 25, 2017?                                     7          So I think at one point, maybe on that
 8      A Yes. I would say with at least two to three           8   Sunday, they came and cleaned the room. Well, maybe
 9   people.                                                    9   not cleaned the room, but like, knocked on the door,
10      Q And where did you find those people?                 10   asked if we needed some service, and we asked for,
11      A I can't necessarily remember two of them.            11   like, some more towels. Or returned our wet towels
12   But I know I remember one man which was somebody we       12   and got new ones.
13   also found in the hotel riding through looking for        13      Q All right. So June 26th is a Monday. And
14   some money. This time he was riding through the back      14   best of your recollection, you returned to Commerce on
15   part and we met him.                                      15   June 26th?
16      Q On this first weekend, the 23rd, 24th, and           16      A Yes. They came and got us about twelve
17   25th, was there ever -- did any United Inn employee       17   o'clock that day.
18   ever initiate a conversation with you?                    18      Q Can you say that one more time? I'm sorry.
19      A We had got locked out of our hotel room on           19      A They came and got us about twelve o'clock
20   Saturday also. I forgot to mention that. And PD told      20   that day.
21   us to give the front desk person the phone or             21      Q And by they, do you mean PD and that female
22   something like that -- our phone -- and he spoke with     22   that first picked you up in Commerce?
23   them, and they came and let us back in the room.          23      A Well, just the female. PD wasn't there
24      Q And that was on Saturday?                            24   the -- I don't know if -- I don't know. I just know
25      A Yes. Saturday or Sunday. I'm not sure                25   the lady came and picked -- took us home. Because he
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 1   which day particular.                                      1   collected our money every single day. She -- we never
 2       Q And so you handed your phone to the person           2   gave our money to her. So maybe he was in the car
 3   at the front desk, and PD talked to that person?           3   with her. I'm not sure.
 4       A To my knowledge. I don't know if that's              4       Q Okay. Do you remember having any
 5   exactly the way it went. But I know he -- he spoke         5   conversations with her on the way back to Commerce
 6   with the person at the front 'cause we had got locked      6   along the lines of what's going on? Is PD a pimp? Is
 7   out and called him.                                        7   this what my life's going to be moving forward? I
 8          I don't know if he called, like, the phone.         8   mean, anything like that?
 9   Or if we handed them the phone. But they came and let      9       A By the last day, me and Alyssa were,
10   us back in the room.                                      10   like -- I remember us crying either the last day or
11       Q And was it that same black female at the            11   the day before because we wanted to go home. We had
12   front desk?                                               12   to beg to go home. It's not like was, okay. Y'all
13       A No. I think this one was, like, the Indian          13   come for three, four days. We had to ask him, can we
14   man, the lighter tone man.                                14   at least go home and see our family or something like
15       Q So what did you tell them when you walked           15   that.
16   into the lobby?                                           16          And at this time, this now when we have an
17       A I don't think we told them anything. I              17   emotional connection to him. He's now manipulating
18   think we just gave him the phone, and he spoke with       18   us, using a lot of terminology to make us feel like
19   him.                                                      19   he's protecting us. And we also had this big burden
20       Q And do you know anything that happened in           20   now of the shame for all the acts that we did.
21   that conversation?                                        21          And also he has all of our money. We
22       A No. I just know they came and walked us to          22   collected $1,300 that weekend. So we're thinking that
23   the room and let us back in.                              23   he's telling us he's holding onto this money for us to
24       Q That same Indian man?                               24   move into a house. Me and Alyssa were only looking
25       A Mm-hmm. Correct.                                    25   to, like, I guess, elevate our life in a way.

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 1       Q Okay. Do you have a distinct memory of                 1      Q Okay. So that takes us to July 1st which is
 2   being walked back to your room by a United Inn               2   a Saturday of 2017. Were you still in Commerce on
 3   employee?                                                    3   July 1st?
 4       A Not a distinct memory. I had a memory of               4      A I'm not sure about that.
 5   them walking us to the room and not just handing us          5      Q Okay. I'm going to hand you what I'm
 6   the key. But they could have just given us the key.          6   marking as Defendant's Exhibit 13.
 7       Q Okay. And in that memory, is it still -- do            7              (Defendant Exhibit 13 was marked for
 8   you still remember the United Inn employee as an             8              identification.)
 9   Indian man?                                                  9          It's Bates stamped Plaintiff 012384. These
10       A I remember dealing within a fairer tone man           10   are text messages from your phone on July 1, 2017.
11   at the -- but it could have been a woman. I'm not           11   Towards that middle, you see that 7/1/2017 from Payton
12   sure in particular.                                         12   saying "Where you at G.W."?
13       Q Okay. So where we have left off, we were at           13      A Yes.
14   June 26th which is a Monday. And I believe you had          14      Q Then you text her back on July 1, 2017,
15   told me that they picked you up at about 12:00 p.m. to      15   which would be at 10:35 a.m. Eastern Time and say,
16   return to Commerce?                                         16   "The house."
17       A Correct.                                              17      A Okay.
18       Q So on June 27, 2017, that Tuesday, you would          18      Q Does that refresh your recollection of where
19   have been in Commerce that whole day?                       19   you would have been on July 1st?
20       A Correct.                                              20      A Yes. It did.
21       Q So is it accurate to say that you were not            21      Q And where would you have been?
22   physically present at the United Inn and Suites on          22      A In Commerce, Georgia.
23   June 27, 2017?                                              23      Q Okay. So is it accurate to say that you
24       A Correct.                                              24   were not physically present at the United Inn and
25       Q The next day is June 28, 2017. That's a               25   Suites on July 1, 2017?
                                                      Page 111                                                        Page 113
 1   Wednesday. Were you still in Commerce?                       1       A Correct.
 2       A Correct.                                               2       Q I'm going to hand you what I've marked as
 3       Q So is it accurate to say that on June 28,              3   Defendant's Exhibit 14 which is Plaintiff Bates
 4   2017, you were not physical present at the United Inn        4   stamped 12373.
 5   and Suites?                                                  5             (Defendant Exhibit 14 was marked for
 6       A Correct.                                               6             identification.)
 7       Q On June 29, 2017. That's a Thursday. Were              7         These are text messages from your phone on
 8   you still in Commerce?                                       8   July 2, 2017, which was a Sunday. See this right in
 9       A Correct.                                               9   the middle, and I'll read it out loud. It's a text
10       Q So it is accurate to say that on June 29,             10   message from you to your mom.
11   2017, you were not physically present at the United         11         "Mom, please make sure I'm up at like 6:30,
12   Inn and Suites?                                             12   7:00 because I'm leaving early in the morning and I
13       A Correct.                                              13   need you to take me by Alyssa's so I can get my bag
14       Q June 30, 2017. That's a Friday. Were you              14   'cause Mac's getting us at like 9:00. But she said
15   still at home in Commerce?                                  15   she was going to call me when she heads there at 7:00.
16       A Correct.                                              16   That's why I need to be up. I came home tonight so I
17       Q Is it accurate to say that on June 30, 2017,          17   can see you in the morning before I go." End of
18   you were not physically present at the United Inn and       18   message.
19   Suites?                                                     19         Who is Mac?
20       A Correct.                                              20       A I think that's -- I'm talking about Alyssa's
21       Q Who -- so I saw some texts from your mom              21   friend, Makelah, who stayed in Gwinnett County. And
22   during that time that you were at home talking about        22   I'm pretty sure I had told my mom that that's where I
23   Ryan is still here. Come get him now. Who is Ryan?          23   was. I think that's what I was telling her.
24       A A old friend of mine, high school friend.             24       Q Okay. And this would have been, like, at
25   He was my little brother's friend.                          25   2:00 a.m. on July 2nd, Eastern. So that's the early

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 1   morning hours of Sunday. Do you believe -- did you go        1   got -- she was like a victim of rape when she was
 2   back to Atlanta on Sunday?                                   2   seven. And she was scared of the man, Doc. He stayed
 3      A Yes. I did.                                             3   in her neighborhood. And they left. And so now I'm
 4      Q And you did not -- did A.G. come back with              4   here with these other two girls.
 5   you?                                                         5            The Destiny girl, I thought she was way
 6      A No. She didn't.                                         6   older. She seemed to have known everything, like how
 7      Q Why did she not come back?                              7   to get dates or clients. Me and Shay went walking
 8      A From my memory, I remember her convincing me            8   that day. Shay was very social. She socialized in
 9   that she was supposed to come back with me. And her          9   the hotel a lot.
10   ending up never showing up. She had went and stayed         10            She -- we met another prostitute that day
11   the night with her mom that night. And I was at her         11   who was also -- well, she was a prostitute, and she
12   house. And I was, from what I remember, under the           12   was prostituting out of the United Inn. She had her
13   impression that she was going to show up that morning.      13   own room. Me and Shay ended up making or having a
14      Q And who took you to Atlanta on Sunday?                 14   client come to her room because Destiny was in our
15      A PD and Doc came and picked me up from                  15   room with her own clients.
16   Alyssa's house in Commerce.                                 16            That night we had met a pimp that stayed in
17      Q And who is Petey?                                      17   the hotel. He tried to offer us cocaine that night.
18      A Zaccheus Obie.                                         18   He had came into our room which was originally the
19      Q Oh. PD. Sorry.                                         19   room that PD had got us.
20      A Sorry.                                                 20            I know we met another -- that was the night
21      Q All right. So they come pick you up from               21   we had met the man, Kodak. I'm pretty sure he was
22   A.G.'s mom's house?                                         22   staying at the hotel as well. I know we met him in
23      A Correct.                                               23   the parking lot of the hotel.
24      Q And where do you all go from there?                    24            We saw these other two girls. Well,
25      A We go straight to the United Inn and Suites.           25   I'll -- I'll go -- well, yeah. 'Cause this is this
                                                      Page 115                                                       Page 117
 1       Q Okay. So on the night of July 2nd, which is            1   time. We saw these other two women that were older.
 2   a Sunday, you stayed at the United Inn and Suites?           2   It was a black woman and a black -- a white woman and
 3       A Yes. Correct. I got there midday. Or they              3   a black woman who were also from my understanding
 4   came and got me earlier that morning. And I had got          4   prostituting. They looked like they were. They had
 5   there in the daytime.                                        5   on very short, revealing clothing with heels. And
 6       Q Okay. And walk me through when y'all get               6   they were also walking around the hotel.
 7   there and the check-in process.                              7          At this point this is -- I think Destiny
 8       A So I think they already had the room.                  8   took pictures of me for the Backpage. I think she was
 9   Pretty sure they already had that room. When I               9   the one who did it maybe. And also at this point
10   arrived, there was two underage girls being sex             10   where I'm starting to figure out how to use Plenty of
11   trafficked in the room already. Well, only one of           11   Fish. So I'm -- I don't know if they're sending
12   them 'cause Shay was 18. But the Destiny girl, the          12   people to the room or if I'm trying to invite people
13   FBI ended up telling me she was only 15.                    13   to the room off POF.
14          I think I remember crying on the way up              14       Q And I'm going to ask you something about
15   there 'cause I was really sad Alyssa didn't come. I         15   that. Before I get too far ahead of myself, I want to
16   was scared. I didn't want to go back especially not         16   go back really quick to the June 23rd through the 25th
17   by myself. And PD had tried to convince me that he          17   at the United Inn. Were you wearing the same outfit
18   had somebody else there waiting on me. So that was          18   that whole weekend?
19   when I met Shay.                                            19       A No. I had black and white crop top or a
20          I went -- he helped me bring my stuff up in          20   shirt that I had tied up and unbuttoned so that my
21   the room. Or I don't know if he helped me bring my          21   breasts would show. And like a little bootie skirt.
22   stuff in the room. I know I got my stuff in the room.       22   And then I also had on these very short black and
23   I'm not sure if he came in the room that day or not.        23   white, like, compression shorts. And I don't know
24          But I remember talking with the girl, Shay.          24   what shirt.
25   And she just was letting me know that she had               25       Q Do you remember what shoes?

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 1   y'all got maid service?                                1           A Correct. I did.
 2      A No. We didn't.                                    2           Q Okay. I mean, I've got to say I'm very
 3      Q And why not?                                      3       impressed by your memory. How do you -- I get it.
 4      A I don't know if they came every day. If           4       It's July 4th. But how do you sit here and
 5   that is what they did, then they would have came. We   5       remember --
 6   never stopped them, but I don't -- to my memory I      6           A I have went through the photos in my phone.
 7   don't remember.                                        7       And I know I remember being at another hotel on the
 8      Q Would either PD or Doc or someone working         8       4th of July.
 9   for PD -- would they come every morning right before   9           Q Okay. What hotel were you at on the 4th of
10   check-in to collect money?                            10       July of 2017?
11      A Yes. They would.                                 11           A It could have been the Travelodge or it
12      Q Okay. So y'all stayed there night of July        12       could have been the hotel, like, on Forest Park or
13   2nd? Somebody would have been there on the morning of 13       Jonesboro. Something like that.
14   July 3rd to collect money?                            14           Q And at this point would you have been moved
15      A PD came.                                         15       with Shay?
16      Q And you said on the way back on July 2nd         16           A Yes. So, like, the day that we left, I
17   from Commerce that you were crying in the car. And PD 17       think that was July 4th was the day. We went
18   was telling you something along the lines of, you     18       to -- that was the first time we went to his mom's
19   know, "Don't worry. I've got another girl for you."   19       house. And the Destiny girl left that day because she
20          Did you ever ask anything of like where is     20       was too young or something like that.
21   the money that I've made? Anything like that?         21               So they had took us to their mom's house and
22      A No. I didn't ask. But I didn't necessarily       22       took Destiny somewhere and came back without her.
23   have to ask. He would -- more so he would tell us,    23           Q And is this PD's mom?
24   like -- he'd like, "Just one more week and y'all are  24           A Correct.
25   going to be moving into y'all's house." "Two more     25           Q I've seen her name in places that I
                                                    Page 123                                                         Page 125
 1   weeks and y'all" -- like he would always be, like,         1   can't -- Moody is it? Miss Moody maybe?
 2   making it seem like it was our purpose to the money        2      A Miss Moody. Yes.
 3   going to him.                                              3      Q Was this the first time you met Miss Moody?
 4       Q I'm handing you what I'm marking as                  4      A Correct.
 5   Defendant's Exhibit 15.                                    5      Q Did you stay at her house the night of July
 6              (Defendant Exhibit 15 was marked for            6   4th? Or you went to a hotel?
 7              identification.)                                7      A So now that I'm older, I realize that they
 8          It's Bates stamped Plaintiff 012363. These          8   would take us over there before check-in time. So
 9   are text messages from July 3rd and July 4th of 2017.      9   that's why we would be over there for, like, two,
10   And I want to take you, Ms. G.W., to the top of this      10   three hours. That we had checked out the hotel and be
11   page. It says July 4, 2017. It's going to be 5:32         11   over there until it was time to check into another.
12   a.m. Eastern. It's a text from you to Payton.             12      Q Okay. Who -- on the 4th who took you from
13          It says, "Miss y'all but I'll FT you when I        13   United Inn to PD's mom's house?
14   get to my new room tomorrow. A bitch done moved to        14      A I think this is the day we met Kiki. I'm
15   stage 2." End of message.                                 15   pretty sure she was with PD when he picked us up that
16          So is FT Facetime?                                 16   day.
17       A Yes.                                                17      Q Okay. And then do you remember who took you
18       Q Tell me what you meant by this text                 18   from PD's mom's house to whatever hotel you stayed at
19   message.                                                  19   that night?
20       A I'm thinking back. I think I meant he moved         20      A No. I don't remember.
21   us to another hotel that day. So I'm assuming he made     21      Q Going back to the July 2nd and 3rd time
22   it seem like he was moving us, like, as a reward. So      22   frame, did you ever walk into the lobby of the United
23   that's what I think I meant by that.                      23   Inn?
24       Q Okay. And you had told me previously you            24      A Yes. I did to buy chips and noodles. Shay
25   believed that you checked out on the 4th.                 25   was the person who told me that we should keep some of

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 1       Q And United Inn is not on Old Dixie Highway.          1   fear of him at this point. He may have given us the
 2   Correct?                                                   2   green light to go when we wanted, but that didn't
 3       A Correct.                                             3   necessarily mean that we felt like we can leave.
 4       Q So is it accurate to say that on July 21,            4       Q Okay. Was there ever a time in this period
 5   2017, after you checked out of United Inn, you would       5   that you considered -- whether you were at the United
 6   not have been physically present for the rest of the       6   Inn or another hotel -- walking into the lobby and
 7   day?                                                       7   saying, you know, I'm here against my will. Will you
 8       A Correct.                                             8   please call the police?
 9       Q I'm going to hand you what I'm marking as            9       A Like I said, especially like at the United
10   Defendant's Exhibit 31, which is Plaintiff 012235.        10   Inn and Suites, PD would disappear for 20 minutes at a
11              (Defendant Exhibit 31 was marked for           11   time every day. I had no idea whether or not he was
12              identification.)                               12   in cahoots with the people in the front desk.
13          In the middle of this page, July 21, 2017,         13           The way that man let us back in our room
14   the 2:23 a.m. The message from you to a 404 number        14   without asking us any questions that time, it seemed
15   stating, "Are you the police?" Is that correct?           15   like he knew the people up there. So I didn't feel
16       A Correct.                                            16   like I could ask them for help.
17       Q And tell me again were you doing this on            17       Q And when you say he would disappear for 15
18   your own volition? Or were you instructed to do this      18   or 20 minutes and come back, I mean, he'd just give
19   by PD?                                                    19   y'all the key and leave. Right?
20       A He had instructed me at one point just to           20       A He didn't -- I don't even think he
21   ask people that.                                          21   had -- maybe he had to update the key or something
22       Q And did he explain to you that the purpose          22   like that. I'm not sure. I just know he would take
23   of that was that the police had to tell you if you        23   our money and leave out the room and come back.
24   asked them if they were the police?                       24       Q Did you ever see, yourself, PD communicating
25       A Yes. That's what he told me.                        25   with any employees or staff of the United Inn?
                                                    Page 151                                                        Page 153
 1       Q All right. I'm going to hand you what I'm            1      A Yes. I communicated with the staff. Who
 2   marking as Defendant's Exhibit 32.                         2   else did you ask?
 3               (Defendant Exhibit 32 was marked for           3      Q I asked if you had ever seen PD communicate
 4               identification.)                               4   with anybody, with any employee or staff member of
 5           It's Plaintiff 007418. These are text              5   United Inn and Suites.
 6   messages between you and PD. And there's a message to      6      A No. I didn't.
 7   you. It's entry 426 on July 21, 2017. But really           7      Q Okay. All right. So we looked at earlier,
 8   that's 11:02 p.m. on July 20, 2017.                        8   Ms. G.W., that on July 21st you were on Dixie Highway
 9           And PD says to you -- I'm going to read it         9   or at another hotel and not the United Inn. You don't
10   out loud and ask you a few questions. "Baby girl I        10   think you came back to the United Inn on that
11   believe there's strength in numbers. And numbers is       11   Saturday, July 22, 2017. Did you?
12   power. Unity is the way and networking is the key.        12      A No. Not to my knowledge.
13   United we stand. Divided we shall fall.                   13      Q So to your knowledge, you were never
14           "That's why anybody that wants to walk away       14   physically present at the United Inn on July 22, 2017?
15   I let them because in this world it takes a team to       15      A No.
16   really achieve dreams. Everybody needs somebody and       16      Q And then of course July 23, 2017, is when
17   there's somebody for everybody. God made pimps so a       17   you were raped and robbed. Is that correct?
18   ho can have a man..." End of message.                     18      A Correct.
19           So you know, Ms. G.W., I'm seeing from PD         19      Q And that was at a hotel in Jonesboro?
20   this message that, you know, anyone is free to go at      20      A Correct.
21   any time. Is that the way you felt as of July 20,         21      Q So on July 23, 2017, it's accurate to say
22   2017?                                                     22   that you were never physically present at the United
23       A No. At this point I had watched PD slap             23   Inn and Suites?
24   Shay to the ground and step his foot on her neck for      24      A Correct.
25   not giving him enough money, so I was definitely in       25      Q It sounds like, Ms. G.W., when you're

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 1   220, 221, 222, 134, 135, 136, 234, 235, 236, among           1       A Correct.
 2   others.                                                      2       Q Now that we've sorted all this out, gotten
 3          "Plaintiff had sex for money with at least            3   all the dates down, do you still believe that number
 4   30 adult men over the period she was at the United Inn       4   is accurate?
 5   and Suites. Plaintiff did not retain any of the money        5       A Yes. I do.
 6   that sex buyers paid her in exchange for sex.                6       Q Okay. When you say Zaccheus Obie or his
 7          "Zaccheus Obie or his associates came to the          7   associates, tell me everybody that you can remember
 8   room in which plaintiff was trafficked and collected         8   who you would consider an associate of who we've been
 9   the money that plaintiff, G.W., and plaintiff, A.G.,         9   calling PD.
10   received from sex buyers. Zaccheus Obie and his             10       A I would say Kiki. I would say Doc. I would
11   associates kept the money. Zaccheus Obie took some of       11   say his mother. I would say his sister. And I'm not
12   the money to the front office to pay cash for the           12   sure if there was associates in the hotels that we
13   rooms in which plaintiff was trafficked."                   13   stayed at. 'Cause it seemed to be, like, he knew
14          All right. So, Ms. G.W., we spent a lot of           14   where he was taking us for a reason. So I don't know
15   time today going through all these dates. And I             15   if he knew the people at the hotels.
16   believe, based on your testimony, you stayed at the         16       Q And there's also that female that picked you
17   United Inn on June 24th, June 25th, checked out on          17   up the first time who you don't know?
18   June 26th.                                                  18       A Yes. Her also.
19      A And June 23rd.                                         19       Q The last sentence of this paragraph says,
20      Q Excuse me. Thank you.                                  20   "Zaccheus Obie took some of the money to the front
21      A You're welcome.                                        21   office to pay cash for the rooms in which plaintiff
22      Q And you had told me at the very beginning              22   was trafficked." You never saw him do that. Did you?
23   there were three separate times. Do you remember            23       A I saw him take our money. But I never seen
24   that?                                                       24   him, like, directly go into the office.
25      A Yes.                                                   25       Q Okay. And I know I've asked you this, but I
                                                      Page 159                                                       Page 161
 1      Q So that would be the first. Right?                      1   can't remember what your answer was. Did PD -- did
 2      A Correct.                                                2   he -- do you know, did he have fake IDs?
 3      Q All right. Second would be July 2nd, July               3       A I'm not sure.
 4   3rd, check out July 4th?                                     4       Q And then this next paragraph talks about at
 5      A Correct.                                                5   least 30 men. Then the next sentence says, "Once in
 6      Q All right. And then the third was July                  6   the United Inn and Suites, five adult men purchased
 7   20th, checkout July 21st. Correct?                           7   commercial sex with plaintiff and the other minor with
 8      A Correct.                                                8   whom plaintiff was sex trafficked. The five adult men
 9      Q Are you sure you don't want to take a few               9   had sex with the minor victim simultaneously.
10   minutes?                                                    10           "A fight ensued which spilled out into the
11      A I'm okay.                                              11   United Inn and Suites open air hallway and caused
12      Q All right. So not counting the days that               12   significant commotion. The other minor with whom
13   you checked out, I've got that as a total of six            13   plaintiff was trafficked threatened to pepper spray
14   nights. And that's not counting the days that you           14   the men."
15   checked out.                                                15           Is that -- is this the Haitian group?
16          It says in these -- and I want to be clear           16       A No. This is the Hispanic group of men, the
17   about this, Ms. G.W., I'm not sitting here trying to        17   first five that came with that boy that we had met who
18   call you a liar. I just am trying to get all the            18   was driving. So it was six men.
19   information I can. Okay?                                    19       Q And I know -- who did the fight ensue
20      A Okay.                                                  20   between?
21      Q So and from my perspective, I'm looking at             21       A I would say probably more so me versus them
22   this. All right. There's six nights at the United           22   because I was more outspoken than A.G., so I was more
23   Inn and Suites. If your response says you had sex for       23   of the one who told them to get out because they were
24   money with at least 30 adult men over that period,          24   being too aggressive with us. So I would say more so
25   that would be five or more per night just on average.       25   me.

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 1       Q Okay. And then it says, "Another time at             1       A Yes. We did. How I was on the back side,
 2   the United Inn and Suites, five adult men purchased        2   and me and Shay had -- first they had came up in our
 3   commercial sex with plaintiff and the other minor with     3   room, and we had sex with them. And then they had
 4   whom plaintiff was sex trafficked. The five adult men      4   tried -- they ended up coming back drunk later in the
 5   had sex with both minor victims simultaneously.            5   night, calling at first but I didn't answer the phone.
 6           "After the five adult men left plaintiff's         6          I wasn't -- I don't know. Maybe I answered.
 7   room, the men stood in the open air hallway banging on     7   I don't know. But we weren't letting them back up in
 8   the door and demanding the minors allow them back into     8   our room.
 9   the room."                                                 9       Q Got you. Tell me about Kikia Anderson. I
10       A Okay. Well, so I think fight was                    10   was at the criminal sentencing for her and for the
11   first -- was with the Haitian men. And this was with      11   Obies when you read that statement. Did you think she
12   the Hispanic men.                                         12   was a victim? Or do you think she was a part of this
13       Q Okay. Yeah. And the reason I asked you the          13   trafficking scheme?
14   first -- I remember you saying something about pepper     14       A I would say both. I would give her grace
15   spray with the Haitian men.                               15   because people deserve that. And she deserves the
16       A Mm-hmm. Yes.                                        16   same grace that me and Alyssa deserve and every other
17       Q Okay. So and am I correct? Was this on the          17   young girl. So I would never criminalize her and take
18   same night?                                               18   away what she experienced as well.
19       A Yes. It was.                                        19          But she was a part of the people who
20       Q And then at the -- do you remember timewise         20   victimized us. And she was a part of the people who
21   whether it was the Haitian men happened first or the      21   trafficked us.
22   Mexican group happened first?                             22       Q Do you think she had an emotional connection
23       A The Mexican group was first.                        23   to PD?
24       Q And tell me again roughly what time of day          24       A Yes. I do.
25   that was.                                                 25       Q Do you think she considered PD her
                                                    Page 163                                                        Page 165
 1      A I would say them closer to about 7:00 or              1   boyfriend?
 2   8:00 p.m.                                                  2       A Maybe.
 3      Q And then what about the Haitians just                 3       Q Is the first time that you met Kikia
 4   roughly speaking?                                          4   Anderson when she picked you up in Commerce and took
 5      A Between 10:00 and 12:00 a.m.                          5   you to the United Inn on July 20th?
 6      Q And y'all are in Room 112?                            6       A No. I think the first time I met her was
 7      A Yes. Correct.                                         7   the time -- the day after -- or like the day we left
 8      Q And then in either of these two events with           8   the United Inn that second time I was there. I think
 9   the group of men, did you ever see any staff from          9   she was with PD when he picked us up. Or no. He
10   United Inn and Suites?                                    10   picked us up and took us to his mom's house, and she
11      A I don't think so. But I'm not necessarily            11   ended up coming over to his mom's house that day.
12   sure.                                                     12       Q Do you think Ms. Moody, PD's mom, knew what
13      Q I mean, during both of these you stayed in           13   was going on?
14   your hotel room. Is that correct?                         14       A Yes.
15      A I would say with the Hispanic men we                 15       Q Did she ever do anything to try to stop it?
16   probably came out into the hallway at one point. But      16       A No.
17   not with the Haitian men.                                 17       Q Going to page 5 of these responses. Do you
18      Q And then on another occasion two drunk men           18   want to take a couple minutes?
19   were screaming at plaintiff and another woman from the    19       A No. I don't want to.
20   parking lot demanding that they be allowed up to have     20       Q Okay. You let me know if you do. Okay?
21   sex for money.                                            21       A Okay.
22      A Yes.                                                 22       Q The third full sentence says, "Plaintiff's
23      Q When did that happen?                                23   traffickers relied upon force, fraud, coercion,
24      A The last time I was there.                           24   threats, intimidation, affection, and manipulation to
25      Q And did we talk about that?                          25   control and traffic plaintiff. Some of plaintiff's

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 1   traffickers were physically violent towards plaintiff        1      A Zaccheus would always say that chain gang
 2   and/or women in front of plaintiff."                         2   was calling him. And now that I got older I know that
 3          You told me about PD being violent towards            3   chain gang is like gangs in jail. So he would always
 4   Shay. Right?                                                 4   get phone calls from them.
 5       A Correct.                                               5          And I know one time Shay was -- that time
 6       Q Was PD ever violent toward you?                        6   that she had rolled around with him when they -- she
 7       A He would get frustrated sometimes with me,             7   had mentioned something about chain gang. So I just
 8   but he was going -- he was in almost -- he was almost        8   always would hear him say chain gang. And I would see
 9   violent with me that day that I was rescued. He was          9   chain gang call him on his phone.
10   interrupted by the police when we pulled in the             10      Q And your understanding is that means people
11   parking lot.                                                11   in prison?
12       Q Tell me about that group of Obie and his              12      A Yes. Also I think one time Shay -- Shay
13   associates that we were talking about. Who did you          13   knew who Doc was like from their neighborhood or
14   see of that group carrying guns?                            14   something like that. So I feel like Shay had told me
15       A Kiki. She had, I think, a license to carry            15   that they were in a gang or something like that. Or
16   'cause she carried it on her hip.                           16   that Doc was. And I just, kind of, assumed that Z was
17       Q Did you ever see PD with a gun?                       17   also.
18       A I would say she left him with her -- he               18      Q Did she ever say what gang?
19   drove her car sometimes. So she would leave her gun         19      A No. She didn't tell me which one.
20   in the car sometimes.                                       20      Q You had told me earlier that there was a
21       Q Did you ever see adult men at the United Inn          21   one-time occurrence that you had sexual intercourse
22   and Suites openly carrying guns?                            22   with PD. Do you remember when that was?
23       A Like the men that were staying at the                 23      A I think it was July 22nd of that year.
24   hotels. Yes. Like, the men who would stand next to          24      Q Okay. So the night before you got raped and
25   their doors with their door open and I'm assuming -- I      25   robbed?
                                                      Page 167                                                       Page 169
 1   would assume selling drugs. 'Cause I know we bought          1       A Mm-hmm. The day before.
 2   weed from one of them one time.                              2       Q And that was not at the United Inn.
 3        Q At the United Inn?                                    3   Correct?
 4        A Yes.                                                  4       A Correct.
 5        Q Do you remember what his name was?                    5       Q The next paragraph says, "During the period
 6        A No. I know it was when me and Shay were               6   at issue plaintiff was regularly in common areas at
 7   staying in the back side.                                    7   the United Inn and Suites. Example given, parking
 8        Q Do you remember what room?                            8   lots, stairwells, breezeways, hallways, lobby, vending
 9        A If me and Shay were staying, like, right              9   machine area and sidewalks. During those periods
10   here, it was like on the same level but across. Like        10   plaintiff was frequently around and observed by hotel
11   on the corner.                                              11   employees working at the hotel.
12        Q The last sentence in that paragraph says,            12           "Plaintiff recalls interacting with various
13   "Plaintiff suspects her traffickers were affiliated         13   United Inn and Suites staff on virtually a daily basis
14   with the criminal gangs."                                   14   including but not limited to front desk staff, room
15          And, Ms. G.W., I want to remind you                  15   cleaning staff, and maintenance staff. Plaintiff does
16   that -- I've told you this before but I just want make      16   not recall the names of the specific hotel employees."
17   sure we're clear. There's a protective order entered        17           All right. Got to break down this
18   in this case. So everything you're saying right now         18   paragraph. So let's start with parking lots. So
19   and everything we're talking about is under seal and        19   there's a front parking lot and a back parking lot.
20   it's going to stay under seal.                              20   Would you say that when you were at the United Inn and
21          So I don't want you to be scared,                    21   Suites you would regularly spend time in the parking
22   intimidated, or hindered from answering this question.      22   lot?
23   But tell me what information you've got that makes you      23       A Yes. Both front and back.
24   suspect that your traffickers were affiliated with          24       Q And tell me, what would you do while you're
25   criminal gangs.                                             25   in the parking lot?

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 1       A I would say, like, especially like late               1       Q Would you also walk Memorial Drive?
 2   night you could just stand out there and somebody           2       A I mean, we did. I really say the most we
 3   would drive up slowly and ask what you're -- are            3   walked Memorial Drive was that very first day because
 4   you -- what you looking for, kind of. Or, like, they        4   we didn't -- we walked for 12 hours and we didn't
 5   would approach you and wait for you to ask what             5   necessarily meet anybody. So we didn't really
 6   they're looking for I would say more so like that.          6   continue doing that.
 7          So we learned to do that to meet clients             7       Q In June and July of 2017, did you ever tell
 8   like that. Just stand around in the parking lot and         8   anybody that you were 17 years old?
 9   make ourselves visible to cars pulling in the parking       9       A No. I didn't.
10   lot.                                                       10       Q Is there any specific conversation that you
11       Q Okay. What about stairwells?                         11   can recall with a staff member of United Inn? Now we
12       A I would say stairwells also because there            12   talked about on that first trip that you bought
13   would be men in the stairwells whether they stayed in      13   condoms, and I believe that was from a black female.
14   the hotel or they were leaving another woman's room.       14   And then I know that there was a time that there was a
15   Something like that.                                       15   lost key.
16       Q And then breezeway is, kind of, the same             16       A Yes.
17   thing?                                                     17       Q And I know that you don't know whether that
18       A I would say breezeway is more like -- like           18   was the Indian man or the female, but --
19   not the stairs but, like, a spot that you can stand        19       A I think -- that's why I say it -- to my
20   under the area like -- I don't know how to describe        20   knowledge, I think it was two occasions. The first
21   it. But the breezeway was, like, maybe where the           21   one was with the female which she must have
22   vending machines -- if they had a vending machine          22   just -- the one that Z talked to.
23   would sit in the breezeway.                                23           And then the second time I remember
24          I feel like there's like this little square         24   interacting with a male who was like -- I don't know
25   pocket place in United Inn where we just would gather      25   if he was Indian. He was a lighter tone man. And I'm
                                                     Page 171                                                        Page 173
 1   right there. Kind of -- it keep you, kind of, shaded        1   pretty sure the reason we interacted with him is
 2   from seeing other people.                                   2   'cause we had got locked out again when we were
 3       Q Okay. And where that -- where you're                  3   staying on the back side of the hotel.
 4   talking about, could you be seen from the lobby?            4       Q Any other conversations that you can think
 5       A I think the lobby, yeah. You could be seen            5   of with any staff from United Inn?
 6   from them 'cause I think that's what leads to the           6       A No. Not -- not to my knowledge.
 7   lobby is, like, that breezeway.                             7       Q Okay. Back in June and July of 2017, when
 8       Q Okay. And then you said you weren't sure or           8   you were at the United Inn, how in your opinion could
 9   not if there's a vending machine area. If it was, is        9   a staff member at United Inn and Suites have been able
10   that similar to the breezeway?                             10   to determine that you were 17 years old?
11       A Mm-hmm.                                              11       A So for example, the little 11-year-old girl
12       Q And then sidewalks. The sidewalk would be            12   that I nanny for, when I look at her I can see the
13   on -- I keep on wanting to say Moreland. And it's not      13   youth in her. When I look in her eyes, I can see the
14   Moreland. Is it?                                           14   innocence in her eyes.
15       A Memorial.                                            15          So I know there's no way that these adult
16       Q Memorial. Thank you. The sidewalk would be           16   people did not seeing feel like we weren't children.
17   on Memorial Drive. Correct?                                17   I know they didn't think we were grown women. We were
18       A When I think of sidewalk I -- I more think           18   constantly having -- we didn't know how to be
19   of, like, the pavement of the hotel. Like maybe right      19   prostitutes. We didn't know how to be any of these
20   when you step outside of your hotel room, there's like     20   things, so we weren't doing it the right way.
21   a sidewalk right there in front of you.                    21          We weren't being slick about it. We had
22       Q Okay. So when you were at the United Inn             22   multiple men coming in and out of our hotel room
23   and Suites, you were basically walking around the          23   multiple times a day, from sun up to sun down. We
24   entire property?                                           24   were dressed provocative. We were walking around the
25       A Yes. The entire property.                            25   hotel constantly with no clothes on. And it was just

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 1   We're off the record.                                       1       Q Tell me about -- we kind of disappeared on
 2             (Off the record.)                                 2   this Swayzii who we -- is Quintavious. You met him on
 3             THE REPORTER: We are back on the                  3   June 21st that first time. Correct?
 4   record at 4:29 p.m. Scan disk 2.                            4       A Correct.
 5   BY MR. STORY:                                               5       Q Did you ever see him again?
 6      Q All right. Ms. G.W., we're back on the                 6       A No. I never saw him again.
 7   record. We've taken a 10-minute break or so. And I          7       Q We talked about Kikia Anderson. Was she
 8   understand that there is some testimony you gave prior      8   trafficked at all?
 9   today that after taking a break, thinking about it,         9       A According to the last time I seen her at
10   you'd like to provide some clarification on.               10   court, that's what it seemed. That he was doing the
11      A Yes. I was in Room 222 the second time that           11   same to her.
12   I was there. And I'm not sure of the room number for       12       Q When is the last time you talked to Kikia
13   the third time.                                            13   Anderson?
14      Q Okay. So the second time, which would have            14       A I would say the last time I spoke with her
15   been that July 2nd and 3rd --                              15   was July 23, 2017. But the last time I seen her was
16      A Mm-hmm.                                               16   at her sentencing.
17      Q -- that's when you were in Room 222?                  17       Q Okay. And then besides Doc checking you all
18      A Yes.                                                  18   in that first time, did you see him anymore?
19      Q Okay. And then that July 20th to 21st, you            19       A Yes. He -- he came with Zaccheus to pick me
20   don't know what room you were in?                          20   up from Commerce the second time. And he checked us
21      A Just on the back side is what I remember.             21   in again that time.
22      Q Okay. All right. If you could flip to page            22       Q To United Inn?
23   17. We asked you to identify people that would just        23       A Yes. Correct.
24   have knowledge about this lawsuit. So I just want to,      24       Q Anything else?
25   kind of, go through people I don't know I'd like to        25       A No.
                                                     Page 191                                                       Page 193
 1   ask you about.                                              1       Q What about Zaccheus' mother? What
 2          While I've got you here though I'm going to          2   information would she have?
 3   be taking A.G.'s deposition tomorrow. Do you have any       3       A She probably would know who all his girls
 4   information about what happened to her that you think       4   were. She would do our hair and prepare us for the
 5   is helpful?                                                 5   day.
 6       A Like damages that's happened? Like --                 6       Q Did she give you any clothes?
 7       Q Anything you witnessed.                               7       A Yes. And makeup.
 8       A Okay. I witnessed her get assaulted in the            8       Q Did she give you any shoes?
 9   hotel at United Inn and Suites. And I was -- that           9       A Not that I can think of.
10   would be the biggest thing I would say. She was            10       Q What about Zaccheus Obie's sister? We
11   assaulted while we was there.                              11   talked about her earlier. I can't remember what we
12       Q Is that the slap by the Haitian men?                 12   talked about though.
13       A Mm-hmm.                                              13       A She would also do our hair and makeup. Like
14       Q Did you -- you didn't see it though because          14   the day Shay had to work at that strip club. They
15   you were in the restroom. Right?                           15   gave -- they gave Shay something to wear and did her
16       A Yes.                                                 16   hair and makeup for that.
17       Q Did you hear it?                                     17       Q Do you know if Obie's sister was performing
18       A I heard the commotion from it.                       18   commercial sex?
19       Q Okay. Anything else that A.G. would know             19       A Not to my knowledge, but she could have
20   about what happened to you that we haven't already         20   been.
21   talked about today?                                        21       Q And then we've got Zaccheus Obie's nephew
22       A Not that I can think of.                             22   twice. Do you know who that is?
23       Q Okay. And of course, Zaccheus Obie is who            23       A I just know he had two nephews that were at
24   we've been referring to as PD?                             24   his -- at his mom's house every time we came over.
25       A Correct.                                             25   And they were also at court when he was being

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 1   paid DeKalb County police officers to come and provide     1   No. I would say that.
 2   security services at the premises at night. Do you         2      Q What medical help do you think you need?
 3   recall seeing police officers when you were at the         3      A Counseling.
 4   United Inn?                                                4      Q Has a medical provider told you that?
 5      A No. I don't.                                          5      A That I need counseling?
 6      Q Other than the innocence in your eyes at 17           6      Q Yes.
 7   years old and 11 months, how else in your opinion          7      A Yes. At The Cottage.
 8   could an employee at United Inn determined that you'd      8      Q And The Cottage, do they provide counseling?
 9   not yet turned 18?                                         9      A They -- I don't think they provide
10      A From my appearance, from the way I spoke,            10   counseling. Like, The Cottage was for if you, like,
11   from the lack of, like -- the way I wasn't as             11   are a victim of sexual assault, they'll help you file
12   concerned about my surroundings. I just, like, was        12   a police report. They'll take you to the county you
13   walking around inviting whoever into my room. I           13   were assaulted in and stuff like that. They're not
14   think, like, the way I presented myself made me seem      14   like a therapist or nothing like that.
15   young.                                                    15      Q Okay. So you think you need therapy?
16      Q Did you look different than Shay?                    16      A Yes.
17      A Yes. I did.                                          17      Q Who told you that's a medical provider that
18      Q How?                                                 18   you need therapy or counseling?
19      A I looked younger in the face than she did.           19      A The woman who gave me the medical leave that
20   Shay had a three year old child also.                     20   year of 2018. She recommended me to see a therapist.
21      Q What do you mean by the way you spoke meant          21      Q As you sit here today are you on any
22   you were 17 instead of 18?                                22   medications?
23      A Like, I would say like the conversation.             23      A No. I'm not.
24   More so like the conversations that I had or my -- by     24      Q Do you have any current appointments
25   my conversations. I wasn't, like, knowledgeable about     25   scheduled with a therapist?
                                                    Page 211                                                        Page 213
 1   something like an older person would be.                   1       A No. Not currently.
 2      Q But those were conversations with customers,          2       Q Do you have any current appointments with a
 3   not employees of United Inn. Correct?                      3   counselor?
 4      A Okay. So I'll take back how I spoke then.             4       A No.
 5      Q Okay. And then you said just not concerned            5       Q You'd said earlier that PD was familiar with
 6   about your surroundings, letting people into your          6   these hotels that you were being taken to. How do you
 7   hotel room?                                                7   know that he was familiar with them?
 8      A Correct.                                              8       A For example, like the United Inn and Suites,
 9      Q Shay would also let people into her hotel             9   he brought me there multiple times. There were
10   room. Correct?                                            10   certain hotels he would go back to multiple times.
11      A Correct.                                             11       Q Other than going back multiple times, is
12      Q Other than you told me about one time buying         12   there anything else he did that made you think he's
13   condoms and that you bought snacks, and then you think    13   familiar with these places?
14   there was two times that you had to get a key, were       14       A No. Not to my knowledge.
15   there any other times that you were in United Inn's       15       Q I'm going to mark as Defendant's Exhibit 34.
16   lobby?                                                    16   I'm going to hand to you is a series of pictures.
17      A So I bought snacks multiple times. Okay.             17             (Defendant Exhibit 34 was marked for
18   So no. No other reasons besides those reasons.            18             identification.)
19      Q And just to be fair to you, you're saying            19          So in your -- in the FBI file for the
20   there wasn't just one time you went in to buy snacks?     20   criminal prosecution of Zaccheus Obie they collected
21      A Correct.                                             21   all the data from your phone and got your locations of
22      Q Have you incurred any medical bills as a             22   where you were during that time and found several
23   result of your injuries from June and July of 2017?       23   hotels that you'd been taken to.
24      A No. I can't afford to get the proper                 24          So I'd just like to show you -- I'll be
25   medical help that I need because of that situation.       25   honest with you -- pictures that I found on Google to

                                                                                                  54 (Pages 210 - 213)
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